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                                              April 10, 2023

    Via ECF

     The Honorable Malachy E. Mannion
     William J. Nealon Federal Bldg. & U.S.
     Courthouse
     235 N. Washington Avenue
     Scranton, PA 18503

              Re: Jane Doe v. Lehigh Valley Health Network, Inc.
                  Civil Action No. 23-cv-585 (KM)

    Dear Judge Mannion:

            This office represents Plaintiff, Jane Doe in the above captioned action. On April 6, 2023,
    Defendant, Lehigh Valley Health Network, Inc. (“LVHN”), improperly removed this action from
    the Court of Common Pleas for Lackawanna County to this Court simply to avoid an impending
    ruling on Plaintiff’s motion seeking a preliminary injunction. This matter arises from a data breach
    that began at some point in January 2023 (“Security Breach”). After learning of the breach in
    February 2023, LVHN refused the data hacker’s demands to pay a ransom and as a result, the
    hackers, on March 10, 2023, posted nude images of numerous LVHN patients on the dark web. In
    addition to the nude photographs, there are thousands of medical records, personnel files (both
    current and former employees), treatment plans, billing records, and other sensitive information
    posted for anyone to download. Plaintiff notified LVHN on April 4 that she was seeking an
    injunction to have the ransom paid so the sensitive information would be removed from the dark
    web and to require LVHN notify those impacted by the Security Breach so they are made aware
    that their personal information is/was available for download from the dark web. See ECF No. 1-
    3. In response, LVHN removed this action just two days later.

            LVHN’s Notice of Removal (“Notice”) claims this Court has jurisdiction pursuant to the
    Class Action Fairness Act (“CAFA”). That claim, however, is objectively baseless. This matter
    falls squarely into CAFA’s local controversy exception as well as CAFA’s home state controversy
    exception. See 28 U.S.C. § 1332(d)(3), (4). Plaintiff requests the Court enter an order to show
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cause for LVHN to provide its factual basis as to why these exceptions to CAFA jurisdiction do
not govern or, alternatively, order that LVHN’s declarant, Mary An La Rock, be produced for
deposition on the question of CAFA jurisdiction pursuant to 28 U.S.C § 1332 (d) within 10 days.
See Hagenbaugh v. Nissan N. Am., No. CV 3:20-1838, 2022 WL 676277, at *5 (M.D. Pa. Mar. 7,
2022). This approach was recently embraced in a data breach class action when faced with the
clear indication that CAFA’s exceptions applied, like here, and the court lacked jurisdiction. James
v. SEPTA, No. 2:20-cv-04339-JDW at Dkt. 15 (E.D. Pa. Jan. 28, 2021) (attached as Exhibit A). In
that matter, after the defendant confirmed that the CAFA exception applied, the jurisdictional issue
was efficiently resolve and the matter was promptly returned to state court.

        Plaintiff makes this request for two reasons. First, having reviewed the uploaded data on
the dark web from the Security Breach, any claim by LVHN that less than two-thirds of the putative
class members are not residents of Pennsylvania is specious at best. From the information
published on the dark web, it is apparent that well in excess of two-thirds of the individuals from
the Security Breach are from Pennsylvania, and in particular Northeastern Pennsylvania. LVHN
has identified 2,760 individuals who are victims of the Security Incident (and thus the putative
class) and it should be required to simply confirm whether more than 920 of those individuals
reside outside of Pennsylvania. If it cannot, this Court does not have CAFA jurisdiction, and it
cannot hear this matter.

        Second, every day this case remains unresolved is another day that nude images of Plaintiff
and other class members remain available for download from the dark web. Indeed, the hackers
have indexed the data and it can be searched using patient and/or employee names. In addition to
the photographs, Plaintiff’s counsel was able to retrieve dozens of sensitive documents which
contain medical diagnosis, names, addresses, social security numbers, and other sensitive
information. Despite this, LVHN has thus far refused to notify the thousands of class members
that their personal information and nude images are published on the dark web. These unique
circumstances require a prompt resolution of the question of jurisdiction. Courts strongly
discourage the use of the removal procedure as an orchestrated delay tactic. See Gondolfo v. Town
of Carmel, No. 20-CV-9060 (CS), 2022 WL 19183, at *2 (S.D.N.Y. Jan. 3, 2022) (internal
quotations omitted) (“Removal of a case to federal court, followed by remand back to state court,
delays resolution of the case, imposes additional costs on both parties, and wastes judicial
resources, and so assessing costs and fees on remand reduces the attractiveness of removal as a
method for delaying litigation and imposing costs on the plaintiff.”)

        Plaintiff will file a formal Motion to Remand, but appreciates the Court’s consideration of
this request, which may swiftly eliminate the need for protracted jurisdictional proceedings and
associated delay. Plaintiff shares the Court’s goal “to resolve this case in a just, speedy and
inexpensive manner.” See ECF No. 4.
                                               Very truly yours,

                                              /s/ Patrick Howard

                                              Patrick Howard
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 GEORGE ANTHONY JAMES, et al.,
                                                    Case No. 2:20-cv-04339-JDW
                 Plaintiffs,

        v.

 SOUTHEASTERN PENNSYLVANIA
 TRANSPORTATION AUTHORITY,

                 Defendant.


                                              ORDER

       AND NOW, this 28th day of January, 2021, upon review of the Class Action Complaint

(ECF No. 1) and Defendant Southeastern Pennsylvania Transportation Authority’s Motion to

Dismiss Pursuant to Federal Rules of Civil Procedure 12(b)(1) & 12(b)(6) (ECF No. 12), the Court

notes as follows:

       1.       Under the Class Action Fairness Act, this Court has jurisdiction over any class

action in which the matter in controversy exceeds $5 million and any member of a class of

plaintiffs if a citizen of a State different from any defendant (see 28 U.S.C. § 1332(d)(2)(A));

       2.       CAFA provides that District Courts may decline jurisdiction in cases in which more

than one-third and less than two-thirds of the class members and the primary defendant are

residents of the State in which the case was filed (see 28 U.S.C. § 1332(d)(3));

       3.       CAFA requires District Courts to decline jurisdiction in cases in which more than

two-thirds of the class members and the primary defendant are residents of the state in which the

case was filed, if the principal injuries were incurred in that state (see 28 U.S.C. § 1332(d)(4));
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       4.       Federal courts have an independent obligation to ensure that subject matter

jurisdiction exists, even in the absence of a challenge from any party (see Guerra v. Consolidated

Rail Corp., 936 F.3d 124, 131 (3d Cir. 2019)); and

       5.       From the face of Plaintiffs’ Complaint, it appears likely that at least one-third, and

possibly more than two-thirds, of class members reside in Pennsylvania, as does SEPTA.

       Therefore, it is ORDERED that, on or before February 12, 2021, each party shall submit

a Memorandum not to exceed ten (10) pages that addresses (a) whether the Court must decline to

exercise jurisdiction under 28 U.S.C. § 1332(d)(4), (b) whether the Court can and should decline

to exercise jurisdiction under 28 U.S.C. § 1332(d)(3), and (c) whether the Court should order

limited discovery to permit the parties to gather facts necessary for a jurisdictional analysis.

                                                       BY THE COURT:


                                                       /s/ Joshua D. Wolson
                                                       JOSHUA D. WOLSON, J.
